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                            UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


 SCOTT T. BALLOCK                                               Case No.: 1:17-CV-52

        Plaintiff,

 v.                                                            JURY TRIAL REQUESTED

 ELLEN RUTH COSTLOW,
 STATE TROOPER MICHAEL KIEF,
 STATE TROOPER RONNIE M. GASKINS,
 and
 STATE TROOPER CHRIS BERRY,

        Defendants.

                                 CERTIFICATE OF SERVICE


        I, Charles J. Crooks, Esq., local counsel for the Plaintiff, Scott T. Ballock, hereby certify

 that on this 18th day of January, 2018, I served by U.S. Mail complete copies of the “PLAINTIFF

 SCOTT BALLOCK FIRST SET OF DOCUMENT REQUESTS TO DEFENDANT ELLEN

 RUTH COSTLOW” to the following:

 P. Todd Phillips, Esq.
 141 Walnut St,
 Morgantown, WV 26505
 Counsel for Defendant,
 Ellen Ruth Costlow

 And

 Mark G. Jeffries (WV Bar No. 11618)
 Steptoe & Johnson PLLC
 400 White Oaks Blvd.
 Bridgeport, WV 26330-4500
 Mark.jeffries@steptoe-johnson.com


 Monté L. Williams (WV Bar No. 9526)
 Steptoe & Johnson PLLC
Case 1:17-cv-00052-IMK-MJA Document 51 Filed 01/18/18 Page 2 of 2 PageID #: 514



 P.O. Box 1616
 Morgantown, WV 26507-1616
 (304) 598-8000
 Monte.williams@steptoe-johnson.com
 Co-counsel for Defendants State Trooper
 Michael Kief, State Trooper Ronnie M.
 Gaskins and State Trooper Chris Berry

       I further certify that I electronically filed and served this certificate of service via the ECF

 system.


 /S/ Charles J. Crooks, Esq.
